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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  CLEVELAND, OHIO


In Re:                                      *       Case No. 22-10571
                                                    Chapter 7
Matthew M. Motil                            *       Judge Arthur I Harris
                                                    Adv. Case No.
                Debtor                      *

Lori Rehn                                   *
403 Fort Ranch Road
Georgetown, Texas 78633                     *

                Plaintiff,                  *
vs.
                                            *
Matthew M. Motil
7011 Chadbourne Drive                       *
North Olmsted, OH 44070
                                            *
                Defendant.
                                            *
         Notice also to:

         Thomas W. Coffey                   *
         Attorney for Debtor
         2430 Tremont Avenue, Front         *
         Cleveland, OH 44113-4635
         (Debtor’s Attorney)                *

                           *                *                     *

  COMPLAINT TO DETERMINE DISCHARGEABILITY OF A PARTICULAR DEBT
        PURSUANT TO 11 U.S.C § 523(a)(2), § 523(a)(4) AND § 523(a)(19)


         Now comes the Plaintiff, Lori Rehn, (“Plaintiff”), by and through undersigned counsel,

and for its complaint states as follows:




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                                 JURISDICTIONAND VENUE

        1.     The Court has jurisdiction to hear this matter pursuant to 28 U.S.C. §157 and

1334 and 11 U.S.C. §523(a). This is an adversary proceeding pursuant to Bankruptcy Rule

7001(6) and a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (I). Pursuant to

Bankruptcy Rule 7008, the Plaintiff states that she consents to the entry of final orders and

judgments by the bankruptcy court.

        2.     Venue is proper in this district pursuant to 28 U.S.C. §1409.

                    INTRODUCTION AND ALLEGATIONS COMMON
                        TO ALL COUNTS OF THE COMPLAINT


        3.     Plaintiff is an individual residing in Georgetown Texas.

        4.     That upon information and belief, the Defendant, Matthew Motil (hereinafter the

“Defendant”), is an individual residing in the state of Ohio.

        5.     That upon information and belief, the Defendant had an ownership interest in a

number of business entities, including Invcle150, LLC, Buycle158, LLC and Buycle175, LLC.

        6.     That upon information and belief, the Defendant is and was the sole and

managing member of Invcle150, LLC, Buycle158, LLC and Buycle175, LLC. (Collectively

“Entities”).

        7.     That upon information and belief, the Entities are all limited liability companies

formed under Ohio law.

        8.     That upon information and belief, the Defendant had, during the time giving rise

to the allegations contained in this Complaint, complete and total control over the business

operations of the Entities.




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           9.    That the Defendant holds himself out to be an expert and knowledgeable in real

estate investing and investments.

           10.   That the Defendant was active on social media whereby he solicited investment

opportunities.

           11.   That the Plaintiff came to know the Defendant, on the internet, through an

organization called Apex which assists entrepreneurs.

           12.   That upon information and belief, the Defendant had been active in the Apex

organization for some time.

           13.   That the Plaintiff knew, through Apex, that other members had made investment

with the Defendant.

           14.   That through representations made by the Defendant on-line though Apex, the

Plaintiff contacted the Defendant concerning investment opportunities.

           15.   That based upon this contact, the Plaintiff and the Defendant communicated by

phone and email on a number of occasions in late 2019 and early 2020 concerning the

investment opportunities offered by the Defendant.

           16.   That based upon representations made by the Defendant, the Plaintiff decided to

invest with the Defendant as now more fully set forth.

   17. That on or around January 27, 2020, the Defendant sent to Plaintiff an email, providing as

follows:

   Lori,

   Thank you for trusting us with your investments. I am attaching the mortgage docs and the
   promissory notes for the three separate deals. Once funds have been received, we will file
   documents with the county recorders office. Let me know once funds have been sent so we
   can track it on our end. Let me know if you have any questions.




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        18.     That on or around January 27, 2020, the Defendant, acting on behalf of the

Entities, entered into a series of transactions (hereinafter the “Agreements”) whereby Plaintiff

was and did in fact lend $150,000.00 to the Entities for a term of twelve (12) months as follows:

        (a). Loan 1-$60,000.00 to Invcle150, LLC, (“Loan 1”);

        (b) Loan 2-$50,000.00 to Buycle158, LLC (“Loan 2”); and

        (c) Loan 3-$40,000.00 to Buycle175, LLC (“Loan 3”).

        Collectively the “Loans.”

        19.     That the salient terms of the Loans are as follows:

        (a) Loan 1-monthly payments of $600.00 for a term of 12 months, with a balloon

              payment of $60,000 due on or before March 1, 2021.

        (b) Loan 2- monthly payments of $500.00 for a term of 12 months, with a balloon

              payment of $50,000 due on or before March 1, 2021.

        (c) Loan 3 - monthly payments of $400.00 for a term of 12 months, with a balloon

              payment of $40,000 due on or before March 1, 2021.

Attached hereto as Exhibit A are copies of the respective “Notes” giving rise to the Loans.

        20.     That the Defendant signed the Loans on behalf of the respective Entities.

        21.     That the Defendant represented to the Plaintiff that the Loans were to be secured

by first mortgages against specified real estate as follows:

        (a) Loan 1-to be secured by a first mortgage against real property owned by Invcle150,

              LLC located at 13529 Leroy Avenue, Cleveland, Ohio 44135;

        (b) Loan 2-to be secured by a first mortgage against real property owned by Buycle158,

              LLC located at 13410 Wainfleet Avenue, Cleveland, Ohio 44135; and




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         (c) Loan 3-to be secured by a first mortgage against real property owned by Buycle175,

               LLC located at 3318 Hearthstone Road, Parma, Ohio 44134.

 Collectively the above mortgages are referred to herein as the “Mortgages” and the above real

 properties are referred herein to as the “Properties.” Attached hereto as Exhibit B are copies of

 the Mortgages.

         22.     That the Defendant signed the Mortgages on behalf of the respective Entities.

         23.     That the Defendant executed the Notes on behalf of the Entities.

         24.      The documentation for the Loans, including the Mortgages and respective Notes,

were prepared by the Defendant on behalf of the respective Entities.

         25.     That the Loans provide that the borrower, the Defendant, shall pay all costs and

expenses incurred by Plaintiff, including all reasonable attorney fees, for the collection of the

Loans upon default.

         26.     That the Defendant individually and behalf of the respective Entities did not

comply with the terms of the Loans and said Loans are in default.

         27.     That the Defendant, individually, and on behalf of the respective Entities

defaulted under the Loans and Agreement because, inter alia, they failed to pay the principal of

the Loans when due and still have not paid such principal.

         28.     That the Defendant individually and on behalf of the respective Entities

represented to the Plaintiff that the Properties were unencumbered by other liens.

         29.     That at the time of the Loans, the Properties were in fact encumbered by other

superior interests.

         30.     That at the time of the Loans and Agreement, the Properties were encumbered by

other interests which were superior in right to the Mortgages.




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        31.    That the Defendant knew at the time of the Loans and Agreement, that the

Properties were in fact encumbered by other interests which would be superior in right to the

Mortgages.

        32.      That at the time of the Loans, the Defendant individually and on behalf of the

respective Entities intentionally misrepresented to the Plaintiff that the Properties were

unencumbered by other liens which would be superior in right to the Mortgages.

        33.    That the Defendant, individually and on behalf of the respective Entities

misrepresented to the Plaintiff that the value of the Properties was in excess of $150,000.00.

        34.    That the Defendant, individually and on behalf of the respective Entities knew

that the value of the Properties was not in excess of $150,000.00.

        35.    That the value of the Properties are not, in fact, worth more than $150,000.00.

        36.    That the Defendant, individually and on behalf of the Entities represented to the

Plaintiff that they would file and record the Mortgages.

        37.    That neither the Defendant, individually or on behalf of the Entities filed the

Mortgages with the applicable recorder’s office.

        38.    That the Defendant, individually, and on behalf of the Entities, have not supplied

and refuse to supply Plaintiff with the original Notes and Mortgages despite promises to do so.

        39.    Upon information and belief, the Defendant owns and/or controls numerous other

business entities.

        40.    That upon information and belief, the Defendant used the proceeds from the

Loans for his own use and benefit, and/or, upon information and belief, the Defendant used the

proceeds received from the Loans for the benefit and use of those other entities which are owned

and/or controlled by the Defendant.




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        41.    That the Defendant engaged in scheme to defraud the Plaintiff of the proceeds

from the Loans.

        42.    That upon information and belief, the Defendant, on behalf of himself and other

business entities in which he owned and/or controlled, engaged in a scheme to defraud investors,

including the Plaintiff.

        43.    That the Defendant individually and on behalf of the Entities was engaged in a

scheme to defraud the Plaintiff by inducing by artifice and trickery, the Plaintiff to enter into the

Agreement and make the Loans, with the Defendant never having the intention to honor his

promises and representations or with the Defendant having no reasonable expectation that he

would have the ability to honor his promises and representations.

        44.    That on March 27, 2022, the Defendant commenced a case in this Court seeking

relief under Chapter 7 of the United States Bankruptcy Code. (“Case”).

        45.    That the pursuant to the Agreement and the Loan, the Plaintiff is a creditor of the

Defendant and holds a claim in the Case. (“Claim”).

                  FIRST CAUSE OF ACTION UNDER 11 USC 523(A)(2)(A)

        46.    Plaintiff reincorporates as if fully rewritten herein, the allegations contained in the

above paragraphs.

        47.    That Bankruptcy Code § 523(a)(2)(A) provides, in relevant part, that:

               (a) A discharge under section 727, 1141, 1228(a), 1228(b) or 1328(b) of this title
               does not discharge an individual debtor from any debt-

                       (2) for money, property, services, or an extension, renewal, or refinancing
                       of credit, to the extent obtained by –

                       (A) false pretenses, a false representation or actual fraud, other than a
                       statement respecting the debtor's or an insider's financial condition . . . .




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        48.    That in entering into the Agreement and by entering into the Loans, the Defendant

individually and on behalf of the Entities made representations to the Plaintiff that he would

comply with and abide by the representations he made, including those set forth in the Notes and

Mortgages.

        49.    That at the time of the Agreement and the Loans, the Defendant individually and

on behalf of the Entities had no intention of honoring those promises and representations he

made individually and on behalf of the Entities.

        50.    That the promises and representations made by the Defendant individually and on

behalf of the Entities, including those promises and representations concerning the value of the

Properties and the lack of superior encumbrances against the Properties, were material promises

and representations and induced the Plaintiff to enter into the Agreement and make the Loans.

        51.    That in the absence of the material promises and representations made by the

Defendant individually and on behalf of the Entities, the Plaintiff would not have entered into the

Agreement, nor would the Plaintiff have made the Loans.

        52.    That the Plaintiff reasonably and justifiably relied upon the false and fraudulent

promises made by the Defendant individually and of the Entities, including but not limited to

those representations concerning the lack of superior encumbrances against the Properties and

the value of the Properties.

        53.    That the promises and representations made by the Defendant individually and on

behalf of the Entities with respect to the Agreement and the Loans were intentionally false and

fraudulent representations.

        54.    That the Plaintiff performed all those promises made with respect to the

Agreement and the Loans.




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        55.     That the Defendant, individually and on behalf of the Entities knew or should

have known that the Plaintiff would rely on the false and fraudulent representations made to her

concerning the Agreement and the Loans.

        56.     That as a direct and proximate result of the Defendant’s intentionally false and

fraudulent material representations, the Plaintiff had been damaged in an amount in excess of

$150,000.00.

        57.     WHEREFORE, pursuant to 11 USC § 523(a)(2), the Plaintiff seeks an order and

judgment from the Court holding that the Plaintiff’s Claim in the Case arose as the result of a

false pretense, false misrepresentation and/or actual fraud on the part of the Defendant, and

therefore such Claim is not subject to any order of discharge entered in the Case, and that to the

extent the Claim of the Plaintiff is not liquidated in another court of competent jurisdiction, that

the Court liquidated the Claim of the Plaintiff by entering a monetary judgment against the

Defendant for actual damages in an amount determined by the Court, that the Court award fees

and costs to the Plaintiff, including her attorney fees and other legal costs, that the Court award

the Plaintiff punitive damages and that the Court enter any other relief it deems just and

equitable.

                  SECOND CAUSE OF ACTION UNDER 11 USC 523(A)(4)

        58.     Plaintiff reincorporates as if fully rewritten herein, the allegations contained in the

above paragraphs.

        59.     Bankruptcy Code § 523(a)(4) provides, in relevant part, that:

              A discharge under section 727, 1141, 1228(a), 1228(b) or 1328(b) of this title does
              not discharge an individual debtor from any debt-

              (4) for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or
              larceny[.]




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         60.    That Defendant, by being the owner and/or person in control of the Entities, was

under a legal duty to operate in the best interest of the Entities and acted in a fiduciary capacity

with respect to the Entities.

         61.    That as a fiduciary, the Defendant was under a legal obligation to act in the best

interest of the Entities.

         62.    That the Plaintiff actually, reasonably and justifiably relief on Defendant’s

fiduciary capacity with respect to the Entities when entering into the Agreement and the Loans.

         63.    That the Defendant misappropriated and stole from the Entities those funds the

Plaintiff had lent to the Entities under the Loans.

         64.    That the Defendant’s actions of misappropriating and stealing from the Entities

violated those fiduciary duties the Defendant had to the Entities.

         65.    That the Defendant's actions of misappropriating and stealing from the Entities

constitutes the act of defalcation for purposes of § 523(a)(4).

         66.    That the Defendant’s actions of misappropriating and stealing from the Entities

constitutes the acts of embezzlement and larceny for purposes of § 523(a)(4).

         67.    That by the Defendant’s actions of misappropriating and stealing money from the

Entities, the Plaintiff’s claim against the Entities and her ability to recover against the Entities

under the Loans has been diminished and such claims have been rendered potentially valueless.

         68.     That as a direct and proximate result of the Defendant’s actions of

misappropriating and stealing money from the Entities, and committing the act of defalcation

while acting in a fiduciary capacity, the Plaintiff has suffered an injury and incurred damages.

         69.    WHEREFORE, pursuant to 11 USC § 523(a)(4), the Plaintiff seeks an order and

judgment from the Court holding that the Plaintiff's Claim in the Case arose as the result of fraud




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or defalcation while acting in a fiduciary capacity, embezzlement, or larceny on the part of the

Defendant, and therefore such Claim is not subject to any order of discharge entered in the Case,

and that to the extent the Claim of the Plaintiff is not liquidated in another court of competent

jurisdiction, that the Court liquidated the Claim of the Plaintiff by entering a monetary judgment

against the Defendant for actual damages in an amount determined by the Court, that the Court

award fees and costs to the Plaintiff, including her attorney fees and other legal costs, that the

Court award the Plaintiff punitive damages and that the Court enter any other relief it deems just

and equitable.

                    THIRD CAUSE OF ACTION UNDER 11 USC 523(A)(19)

         70.     Plaintiff reincorporates as if fully rewritten herein, the allegations contained in the

above paragraphs.

         71.     That the Agreement and Loans entered into between the Parties were securities

for purposes of Federal Law and applicable state law.

         72.     That the Defendant individually and on behalf of the Entities sold to Plaintiff

securities by entering into the Agreement and the Loans.

         73.     That upon information and belief, the Defendant is not licensed to sell securities.

         74.     That upon information and belief, the Defendant never registered the Entities to

sell securities; nor were the Loans registered as securities.

         75.     That the securities sold by the Defendant individually and on behalf of the

Entities did not meet the requirements necessary to comply with Federal Securities Law and

applicable state securities law as among other matters, the necessary disclosures were not made

to the Plaintiff.




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        76.    That the Defendant’s sale of a securities to the Plaintiff was in violation of

Federal Securities Law and applicable state securities law and regulations issued under such

laws.

        77.    That this Court or another court of competent jurisdiction may enter a judgment

or other order finding that the Defendant violated Federal Securities Law and applicable state

securities law and regulations issued under such laws, and that such orders and judgment may be

issued after the commencement of the Case.

        78.    WHEREFORE, pursuant to 11 USC § 523(a)(19), the Plaintiff seeks an order

and judgment from the Court holding that the Plaintiff's Claim in the Case is not subject to any

order of discharge entered in the Case, and that to the extent the Claim of the Plaintiff is not

liquidated in another court of competent jurisdiction, that the Court liquidated the Claim of the

Plaintiff by entering a monetary judgment against the Defendant for actual damages as

determined by the Court, that the Court award fees and costs to the Plaintiff, including her

attorney fees and other legal costs, that the Court award the Plaintiff punitive damages and that

the Court enter any other relief it deems just and equitable.




                                                      Respectfully submitted


                                                      s/Eric R. Neuman
                                                      Eric R. Neuman (0069794)
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                                                      Attorney for Plaintiff
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                                 EXHIBIT A




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                                EXHIBIT B




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